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                  EXHIBIT O
                        Case: 1:18-cv-02022 Document #: 104-3 Filed: 03/20/23 Page 2 of 3 PageID #:1493




From:                                                                              Burns, Cheryl
Sent:                                                                              Monday, .June 15, 2A15 1:46 PM
To:                                                                                Ludwig, Kathryn E.
Subject:                                                                           RE: SFTP   for Pangea


Katie,

Thinking about sending the below email to David, let me know your thoughts. They continue to send us PDF's which
make it impossible to sort and compare, but this time they even left the unit numbers off so we can't determine
whether we have a contract there or not. lthink they are dragging their feet.

Cheryl



David,

We have reviewed your submission and found that there are no unit numbers on this report, we are therefore unable to
use it. As we have discussed previously, we need this information to perform our due diligence to complaints that have
risentoourofficeaswell asCHA'sOfficeof lnspectorGeneral. l'mafraidifyourefusetosubmitthisinformationyou
will leave me no choice but to recommend that CHA stop accepting RTA's from Pangea.

Please let me know if you will comply with this request.


Best regards,

Cheryl


                 Iiit,t,Nr,,,..                  Cheryl L Burns I Program Director, H ousing Choice Voucher Program
             ,S+*ii:t                            phone312.786.4046 | Fax312.e13.40e3 1Mobi1e773.46s.61.63
             :.:,$.rEiii\                        Chicago Housing Authority | 60 E. Van Buren I Chicago, lL 60605
             tM e
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                                                 cburns@thecha.orsIyVUrvl.!bq-,[,a-.fry
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Please consider the environment before printi ng this email.



                       lto:djaffee @ pa ngea re. com]
Frorn : David J affee Im                                a   i


Sent: Friday, May 22,2015 11:14 AM
To: Burns, Cheryl                                                                                                                                                                 B          FLnnllrr   u
Cc: Ludwig, Kathryn E.; Hondras, Sheldon                                                                                                                                          3           affiBlr
Subject: Re:SFTP for Pangea
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                                                                                                                                                                                   <,
                                                                                                                                                                                   zu
Hi Cheryl,


Apologies for the delay here, it was a big task and we've had a very hectic couple weeks on our side. We believe we
successfully posted the rent rolls to the FTP.

Have a great Memorial Day Weekend                                                    !




                                                                                                                                                                                                 cHA-0000046
          t
                             Case: 1:18-cv-02022 Document #: 104-3 Filed: 03/20/23 Page 3 of 3 PageID #:1494
      ,

tsr




              Best,
              David



              F   ro m : " C h e ry I      B u rn s   "   ._C-.Bg.m_q,@ th.e.qh_q.,      e_fg'
              To    :   " D a vi   d J aff e e " .   dia.ff. g_e..@p.a.n g q   a.r-e... g g   m>
              Cc: "Kathryn E. Ludwig"                               "Sheldon                       Hondras".-Q.L|_o'n-QmS.@!lp..c..h9,_o.1g,
                                      ".K-L*UdWtg@.t[qc_h.Q*_o.fg>,
              Sent: Tuesday,  19 May, 2015   5'.27.24 PM
              Subject: Fwd: SFTP for Pangea

              David,

              Please reach out to Sheldon with additional questions.

              Cheryl

              Sort from my Verizon Wirelos 4G LTE smartphone




                     Original message
              From. "Tam,  Jin Y."
              Date:0511 91201 5 4'.28 PM (GMT-06:00)
              To: "Bums, Cheryl"
              Cc: "Hondras, Sheldon"
              Subject. SFTP for Pangea

              Here's the inside address.


              \\p,s"flplllptp\diatu
              Here's the username and password for the account.

              y;:il:[:-r




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